                                    UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF TENNESSEE
                                             WINCHESTER

  KRISTOPHER R. MAJORS and wife,                  )
  CARIE MAJORS,                                   )
                                                  )
                    Plaintiffs,                   )
                                                  )
  v.                                              )   No. 4:12-CV-00058
                                                  )   District Judge: Harry S. Mattice, Jr.
  STATE AUTO PROPERTY &                           )   Magistrate Judge: William B. Carter
  CASUALTY INSURANCE COMPANY,                     )
                                                  )
                    Defendant.                    )

                STIPULATION OF VOLUNTARY DISMISSAL WITH PREJUDICE

           Pursuant to Fed. R. Civ. P. 41(a)(1), the parties to this action hereby stipulate

  that the plaintiffs' action against State Auto Property & Casualty Insurance Company is

  voluntary DISMISSED WITH PREJUDICE. Each party shall bear its own attorneys

  fees, court costs and discretionary costs.

                                               Respectfully submitted,

                                               _s/ E. Jason Ferrell_______________________
                                               PARKS T. CHASTAIN
                                               Registration No. 13744
                                               E. JASON FERRELL
                                               Registration No. 24425
                                               Attorneys for Defendant, State Auto Property &
                                               Casualty Insurance Company

                                               BREWER, KRAUSE, BROOKS,
                                               CHASTAIN & BURROW, PLLC
                                               P. O. Box 23890
                                               Nashville, TN 37202-3890
                                               (615) 256-8787




                                               _s/ Jerre M. Hood_____________________



  SA Majors Stip Vol Dism 140702
Case 4:12-cv-00058-HSM-WBC Document 38 Filed 07/15/14 Page 1 of 2 PageID #: 289
                                             JERRE M. HOOD
                                             Registration No. 4669
                                             Attorney for Plaintiffs

                                             156 1st Avenue NW
                                             Winchester, TN 37398
                                             (931) 967-0838


                                             _s/ Robert S. Peters_____________________
                                             ROBERT S. PETERS
                                             Registration No. 3630
                                             Attorney for Plaintiffs

                                             SWAFFORD, PETERS, PRIEST & HALL
                                             120 North Jefferson Street
                                             Winchester, TN 37398
                                             (931) 967-3888


                              CERTIFICATE OF SERVICE

           I hereby certify that on this 15th day of July, 2014, a true and correct copy of the
  foregoing Stipulation of Dismissal was filed electronically. Notice of this filing will be sent
  by operation of the court’s electronic filing system to all parties indicated on the electronic
  filing receipt. All other parties will be served by regular U. S. Mail. Parties may access this
  file through the court’s electronic filing system.

  Jerre M. Hood, Esquire
  156 1st Avenue NW
  Winchester, TN 37398

  Robert S. Peters, Esquire
  120 North Jefferson Street
  Winchester, TN 37398


                                             _s/ E. Jason Ferrell_______________________
                                             E. JASON FERRELL




  SA Majors Stip Vol Dism 140702     2
Case 4:12-cv-00058-HSM-WBC Document 38 Filed 07/15/14 Page 2 of 2 PageID #: 290
